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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                             Civil Action No. 0:19-cv-61675-WPD

   TYRONE JOHNSON,

          Plaintiff,

   v.

   SATNARINE SINGH,

         Defendant.
   _____________________________________/

                                        FINAL JUDGMENT

         THIS CAUSE is before the Court upon the conclusion of the trial in this matter and the

  Jury Verdict entered on August 11, 2021.

         Accordingly it is ORDERED AND ADJUDGED as follows:

         1. Judgment is hereby entered on behalf of Defendant Satnarine Singh and against

            Plaintiff Tyrone Johnson.

         2. Plaintiff shall take nothing from Defendant in this action.

         3. The Clerk shall CLOSE this case.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida this

  11th day of August, 2021.




  Copies furnished to:
  All Counsel of Record
